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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                                                                Chapter 11

 PES HOLDINGS,LLC, et al.,l                                                            Case No. 19-11626(KG)

                                                              Debtors.                (Jointly Administered)


 PES HOLDINGS,LLC, et al., CORTLAND CAPITAL
 T✓IOR~~T C~'RVI~ES, LLC,

                                                              Plaintiffs,              Adv. Pro. No. 19-50282(KG)
             v.

 ICBC STANDARD BANK PLC,

                                                              Defendant.


                   AGREED SCHEDULING ORDER IN CONNECTION WITH
                  THE INSURANCE PROCEEDS ADVERSARY PROCEEDING

          Upon the motion (the "Motion")2 ofthe above-captioned debtors and debtors in possession

(collectively, the "Debtors") in these chapter 11 cases for entry of an order (this "Order")

scheduling certain dates and deadlines to govern the conduct of the above-captioned adversary

proceeding; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order; and that this Court may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and



'   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, are: PES Holdings, LLC (8157); North Yard GP,LLC (5458); North Yard Logistics, L.P.,(5952); PES
    Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
    Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors'
    service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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this Court having found that the Debtors' notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be provided; and

the parties having conferred and agreed; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The following schedule shall govern the Insurance Proceeds Litigation:

                      •       Monday, September 9, 2019, at 4:00 p.n~., pre~~ailing Eastern
                                       be the date by which ICBCS's answer to the Adversary
                              T1II1C, shall
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                      •       Monday, September 16, 2019, at 4:00 p.m., prevailing Eastern
                              Time, shall be the date by which the Debtors' and Cortland Capital
                              Market Services, LLC's(together with the Debtors,the "Plaintiffs")
                              answer to any ICBCS's counterclaims, if any, shall be filed.

                      •       Thut•sday, September 19, 2019, at 4:00 p.rn., prevailing Eastern
                              Tiiize, shall be the date by which the Plaintiffs and ICBCS may each
                              file a Dispositive Motion.

                      •       Tuesday, October 15, 2019, at 4:00 p.m., pt•e~~ailing Eastern
                              Tine, shall be the date by which the Plaintiffs and ICBCS may file
                              an opposition to the Dispositive Motion filed by ICBCS and the
                              Plaintiffs, respectively.

                      •       Monday, October 28, 2019, at 4:00 p.in., prevailing Eastern
                              Time, shall be the date by which the Plaintiffs and ICBCS may file
                              a reply in support of their respective Dispositive Motions.

                      •       ~'Vednesda~~, No~~einber 6, 2019, at 10:00 a.ni., prevailing
                              Eastern Time, or as soon the~•eafter as the parties ina~T be heard,
                              shall be the date on which the Court holds a hearing on the
                              Dispositive Motions.

                              In the e~~ent that the Court determines that it is unable to
                              adjudicate the Ad~~ers~iy Complaint or Counterclaims (if any)
                              without discovery, the parties shall meet and confer• regarding
                              an appropriate schedule for clisco~~ery and trial.

       2.      Notice ofthe Motion as provided therein shall be deemed good and sufficient notice

ofsuch Motion and the requirements ofBankruptcy Rule 6004(a)and the Local Rules are satisfied

by such notice.

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       3.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       4.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

               This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




      Dated: August 21st, 2019                  KEVIN GROSS
      Wilmington, Delaware                       3
                                                UNITED STATES BANKRUPTCY JUDGE
